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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

PATRICK R. ESTES,

             Plaintiff,

vs.                                          Civil Action No. 1:12-cv-03930-CAP

AON RISK SERVICES
COMPANIES, INC.,

             Defendant.


                      DEFENDANT AON RISK SERVICES
                      COMPANIES, INC.’S STIPULATION

      Pursuant to the hearing held on January 3, 2013 on Plaintiff's Motion for

Preliminary Injunction Enjoining Enforcement of the Aon Covenants and this

Court’s January 4, 2013 Minute Entry, Defendant Aon Risk Services Companies,

Inc., by its attorneys, hereby stipulates as follows:


      Defendant Aon Risk Services Companies, Inc. and its affiliated companies

(collectively, “Aon”) agree not to enforce against Plaintiff Patrick R. Estes

(“Estes”), now or in the future, the covenants contained in Sections 1(b) and 1(c)

of the parties’ Non-Solicitation Agreement entered into as of February 2010 (the

“Agreement”).
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      Aon also agrees not to enforce against Estes, now or in the future, the

covenant contained in Section 3(a) of the Agreement with respect to confidential

information that does not constitute a trade secret under Georgia law. Aon and

Estes each reserve all rights to make all arguments as to what does and does not

constitute a trade secret under Georgia law. Estes reserves the right to challenge

the enforceability of Section 3(a) with respect to information that constitutes a

trade secret under Georgia law.




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        Respectfully submitted, this 4th day of January, 2013.
AGREED TO:                                    AGREED TO:

Defendant Aon Risk Services                   Plaintiff Patrick R. Estes
Companies, Inc.

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